                      Case 23-90330 Document 1 Filed in TXSB on 05/14/23 Page 1 of 17
Debtor       Energy XXI GOM, LLC                                                         Case number (if known)
           Name




Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of Texas
                                          (State)                                                                                    ☐Check if this is an
Case number (if known):                                         Chapter      11                                                         amended filing



Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              06/22

      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name
      and the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
      Individuals, is available.



1.   Debtor’s Name                     Energy XXI GOM, LLC


                                       Energy XXI Leasehold, LLC
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)         XX-XXXXXXX                                                ________________________________________________


4. Debtor’s address                    Principal place of business                                     Mailing address, if different from principal place
                                                                                                       of business
                                       4514 Cole Ave, Suite 1175

                                          Number              Street                                   Number         Street




                                          Dallas                             TX        75205
                                          City                              State      Zip
                                          Code                                                         City                         State     Zip Code


                                                                                                       Location of principal assets, if different from
                                                                                                       principal place of business
                                          Dallas
                                          County                                                       Number         Street




                                                                                                       City                         State     Zip Code




5. Debtor’s website (URL)                 https://coxoperating.com/

6.   Type of debtor                        ☒Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                           ☐Partnership (excluding LLP)

                                           ☐Other. Specify:



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Debtor        Energy XXI GOM, LLC                                                 Case number (if known)
            Name



                                           A. Check One:
7.   Describe debtor’s business
                                           ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                           ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                           ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                           ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                           ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                           ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           ☒ None of the above

                                           B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              2111 (Oil and Gas Extraction)

8. Under which chapter of the              Check One:
   Bankruptcy Code is the                  ☐ Chapter 7
   debtor filing?
                                           ☐ Chapter 9

                                           ☒ Chapter 11. Check all that apply:
A debtor who is a “small business
debtor” must check the first sub-box.                ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
A debtor as defined in § 1182(1) who                   noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
elects to proceed under subchapter                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
V of chapter 11 (whether or not the                    operations, cash-flow statement, and federal income tax return or if any of these documents
debtor is a “small business debtor”)                   do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
must check the second sub-box.
                                                      ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent
                                                       liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and
                                                       it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach
                                                       the most recent balance sheet, statement of operations, cash-flow statement, and federal
                                                       income tax return, or if any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                       § 1116(1)(B).
                                                      ☐ A plan is being filed with this petition.

                                                      ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                        creditors, in accordance with 11 U.S.C. § 1126(b).
                                                      ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities
                                                        and Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934.
                                                        File the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under
                                                        Chapter 11 (Official Form 201A) with this form.
                                                      ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                            ☐ Chapter 12

9. Were prior bankruptcy cases          ☐ No
   filed by or against the debtor       ☒ Yes    District    Southern District     When     04/14/2016       Case number    16-31934
   within the last 8 years?                                  of Texas                       MM/DD/YYYY
     If more than 2 cases, attach a              District                          When                      Case number
     separate list.                                                                         MM/DD/YYYY

10. Are any bankruptcy cases             ☐ No
    pending or being filed by a          ☒       Debtor                                                      Relationship
    business partner or an              Yes                  See Attached Rider
    affiliate of the debtor?
                                                 District
                                                                                                             When:          05/14/2023

     Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 2
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Debtor     Energy XXI GOM, LLC                                                     Case number (if known)
          Name


   List all cases. If more than 1,                                                                                                MM / DD / YYYY
   attach a separate list.                         Case number, if known _______________

11. Why is the case filed in this      Check all that apply:
    district?
                                            ☒ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.
                                            ☒ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have         ☒ No
    possession of any real              ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                  ☐   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                      safety.
                                                      What is the
                                            hazard?
                                                  ☐    It needs to be physically secured or protected from the weather.

                                                  ☐   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).
                                                  ☐   Other


                                                  Where is the property?
                                                                                    Number          Street



                                                                                    City                                  State       Zip Code



                                                  Is the property insured?
                                                   ☐ No

                                                   ☐ Yes. Insurance agency

                                                            Contact name
                                                            Phone




                       Statistical and administrative information

13. Debtor's estimation of           Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of                    ☐1-49                             ☐1,000-5,000                           ☐25,001-50,000
    creditors                              ☐50-99                            ☐5,001-10,000                          ☐50,001-100,000
                                           ☐100-199                          ☐10,001-25,000                         ☐More than 100,000
                                           ☒200-999



15. Estimated assets                       ☐$0-$50,000                       ☐$1,000,001-$10 million                ☐$500,000,001-$1 billion
                                           ☐$50,001-$100,000                 ☐$10,000,001-$50 million               ☐$1,000,000,001-$10 billion
                                           ☐$100,001-$500,000                ☐$50,000,001-$100 million              ☐$10,000,000,001-$50 billion
                                           ☐$500,001-$1 million              ☒$100,000,001-$500 million             ☐More than $50 billion



   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 3
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Debtor     Energy XXI GOM, LLC                                                       Case number (if known)
          Name




16. Estimated liabilities                   ☐$0-$50,000                      ☐$1,000,001-$10 million                   ☒$500,000,001-$1 billion
                                            ☐$50,001-$100,000                ☐$10,000,001-$50 million                  ☐$1,000,000,001-$10 billion
                                            ☐$100,001-$500,000               ☐$50,000,001-$100 million                 ☐$10,000,000,001-$50 billion
                                            ☐$500,001-$1 million             ☐$100,000,001-$500 million                ☐More than $50 billion

                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of     •       The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of             petition.
    debtor
                                     •       I have been authorized to file this petition on behalf of the debtor.
                                     •       I have examined the information in this petition and have a reasonable belief that the information is true
                                             and correct.

                                         I declare under penalty of perjury that the foregoing is true and correct.

                                     Executed on           05/14/2023
                                                            MM/ DD / YYYY


                                             /s/ Craig Sanders                                            Craig Sanders
                                             Signature of authorized representative of debtor              Printed name

                                             Title   Authorized Person




18. Signature of attorney                    /s/ Rebecca Blake Chaikin                                   Date         05/14/2023
                                             Signature of attorney for debtor                                         MM/DD/YYYY



                                             Rebecca Blake Chaikin

                                             JACKSON WALKER LLP
                                             Firm name
                                             1401 McKinney Street, Suite 1900
                                             Number                 Street
                                             Houston                                                             TX                 77010
                                             City                                                                State                ZIP Code
                                             (713) 752-4200                                                      rchaikin@jw.com
                                             Contact phone                                                           Email address
                                             24133055                                            Texas
                                             Bar number                                          State




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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                           Southern District of Texas
                                       (State)                                              ☐Check if this is an
 Case number (if known):                                Chapter   11                           amended filing




                                                Rider 1
                 Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
the United States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11
of the United States Code. The Debtors have moved for joint administration of these cases under the case
number assigned to the chapter 11 case of MLCJR LLC.


                                                              COMPANY

                               Cox Oil Offshore, L.L.C.
                               Cox Operating, L.L.C.
                               Energy XXI GOM, LLC
                               Energy XXI Gulf Coast, LLC
                               EPL Oil & Gas, LLC
                               M21K, LLC
                               MLCJR LLC
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                                                                             Execution Version


            OMNIBUS WRITTEN CONSENT OF THE EQUITY HOLDERS OF:

                                COX OPERATING, L.L.C.;
                                     MLCJR LLC;
                               COX OIL OFFSHORE, L.L.C.;
                             ENERGY XXI GULF COAST, LLC;
                                 EPL OIL & GAS, LLC;
                              ENERGY XXI GOM, LLC; AND
                                      M21K, LLC

                                          May 14, 2023

      The undersigned constitute all of the equity holders (each, a “Member” and, collectively,
the “Members”) of the Companies (as defined below).

             a. Cox Investment Partners, LP, a Delaware limited partnership (“CIP”), is the sole
                Member of Phoenix Petro Services LLC, a Delaware limited liability company
                (“Phoenix”), which is the sole Member of Cox Operating, L.L.C., a Louisiana
                limited liability company (“Cox Operating”).

             b. WIN Management LLC, a Delaware limited liability company (“WIN”), CIP and
                CLS Development, LLC, a Texas limited liability company (“CLS”), are all of the
                Members of MLCJR LLC, a Texas limited liability company (“MLCJR”).

             c. MLCJR is the sole Member of each of Cox Oil Offshore, L.L.C., a Louisiana
                limited liability company (“Offshore”), and CEXXI, LLC, a Delaware limited
                liability company (“CEXXI”).

             d. CEXXI is the sole Member of Energy XXI Gulf Coast, LLC, a Delaware limited
                liability company (“Gulf Coast”).

             e. Gulf Coast is the sole Member of each of EPL Oil & Gas, LLC, a Delaware limited
                liability company (“EPL O&G”), and Energy XXI GOM, LLC a Delaware limited
                liability company (“GOM”).

             f. GOM is the sole Member of M21K, LLC, a Delaware limited liability company
                (“M21K”, and together with Cox Operating, MLCJR, Offshore, Gulf Coast, EPL
                O&G and GOM, collectively, the “Companies” and each, a “Company”).

        In lieu of a meeting, each of CIP, acting in its capacity as the sole Member of Phoenix,
acting in its capacity as the sole Member of Cox Operating, and WIN, CIP and CLS, each acting
in their capacity as a Member of MLCJR, acting in its capacity as the sole Member, directly or
indirectly, of Offshore, Gulf Coast, EPL O&G, GOM and M21K (each, an “Applicable
Capacity”), pursuant to each Company’s operating agreement and based on the advice of the
Company’s professionals and advisors, and after thorough discussions, hereby take the following
actions and adopt, approve, and consent to the following resolutions by written consent as of the
date hereof:



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        WHEREAS, each Member or Members, in their Applicable Capacity, with respect to each
Company, has reviewed and considered the financial and operational condition of such Company
and such Company’s business on the date hereof, including the assets of such Company, the current
and long-term liabilities of such Company, and the recommendations of such Company’s outside
legal and other advisors as to the risks and benefits of pursuing a bankruptcy proceeding for such
Company under the provisions of Chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”);

        NOW, THEREFORE, BE IT RESOLVED, that in the judgment of each Member or
Members, in their Applicable Capacity, and in reliance on the Company’s outside legal and other
advisors as with respect to each Company, it is desirable and in the best interests of such Company,
its creditors, its stakeholders, and other interested parties that such Company seek relief under the
provisions of Chapter 11 of the Bankruptcy Code; and it is further

         RESOLVED, that each Company is hereby authorized, and each Authorized Person
(as defined below) shall be, and hereby is, authorized on behalf of such Company, to take all such
steps and do all such acts and things as such Company or such Authorized Person shall deem
necessary or advisable to commence a case under Chapter 11 of the Bankruptcy Code (each, a
“Chapter 11 Case”), including, but not limited to, executing, verifying and delivering a voluntary
petition in the name of such Company under Chapter 11 of the Bankruptcy Code and causing the
same to be filed with the United States Bankruptcy Court for the Southern District of Texas
(the “Bankruptcy Court”), making any and all other necessary filings with the Bankruptcy Court
and any other filings that such Authorized Person determines to be necessary or advisable, making
and executing any necessary or advisable instruments, certificates, affidavits, or other documents
in connection therewith, signing or endorsing any checks, posting any bonds, and paying any fees
and expenses in connection therewith, and taking any and all actions to make, execute, verify, and
file all applications, certificates, documents, or other instruments and to do any and all acts and
things that any one or more of them shall deem necessary, advisable, or appropriate in order to
carry out the intent and purpose of any and all of the foregoing resolutions, each such petition,
application, certificate, document or other instrument, in such form and at such time as such
Authorized Person executing the same shall determine; and it is further

        RESOLVED, that each Company is hereby authorized, and each Authorized Person shall
be, and hereby is, authorized and empowered, on behalf of and in the name of such Company, to
enter into such forbearance agreements, waivers, amendments or modifications, confirmations,
terminations, or other supplements or agreements relating to such Company’s existing
indebtedness or other financial transactions as may be deemed necessary or appropriate by such
Authorized Person; and it is further

        RESOLVED, that each Company is hereby authorized, and each Authorized Person shall
be, and hereby is, authorized and empowered, on behalf of and in the name of such Company, to
the extent applicable, to obtain the use of cash collateral, in such amounts and on such terms as
may be agreed by such Authorized Person, including the grant of replacement liens or other
adequate protection, as is reasonably necessary for the continuing conduct of the affairs of such
Company; and it is further




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        RESOLVED, that (a) each Company is hereby authorized, and each Authorized Person
shall be, and hereby is, authorized and empowered, with full power of delegation, on behalf of and
in the name of such Company, to (i) take all actions necessary or appropriate for such Company
to obtain post-petition financing according to the terms negotiated by such Authorized Person,
including under one or more debtor-in-possession credit facilities; and (ii) negotiate, execute,
deliver, verify and/or file, or cause to be filed and/or executed or verified (or direct others to do so
on their behalf as provided herein), and to amend, supplement or otherwise modify from time to
time, all necessary or appropriate documents, including, without limitation, petitions, affidavits,
schedules, motions, lists, applications, pleadings and other documents, agreements and papers,
including all debtor-in-possession or other loan agreements, notes, guaranties, security
agreements, pledge agreements, intercreditor agreements, subordination agreements, financing
statements, mortgages, account control agreements, intellectual property security agreements, and
all other documents, agreements or instruments (collectively, the “Credit Documents”) and to
take any and all actions that such Authorized Person deems necessary or appropriate, each in
connection with such Chapter 11 Case, any post-petition financing or any cash collateral usage
contemplated hereby or thereby and (b) any transactions contemplated by the Credit Documents
are in all respects approved; and it is further

        RESOLVED, that any guaranty and/or incurrence of indebtedness, grant of security
interests and/or pledges by such Company as contemplated in any of the Credit Documents, and
any additional liens pursuant to any additional security agreements, pledge agreements or similar
documents that any agent or lender under the Credit Documents may require are hereby authorized,
approved and adopted, as applicable; and it is further

        RESOLVED, that each Company is hereby authorized, and each Authorized Person shall
be, and hereby is, authorized and empowered, on behalf of and in the name of such Company, to
employ and retain the law firms of Latham & Watkins LLP and Jackson Walker LLP to represent
the Company, as a debtor and debtor in possession, in connection with such Chapter 11 Case on
the terms set forth in their engagement letters with such Company, which are hereby ratified and
approved, and to represent and assist such Company in carrying out its duties under the Bankruptcy
Code, and to take any and all actions to advance such Company’s rights and obligations; and in
connection therewith, each of the Authorized Persons, with powers of delegation, is hereby
authorized to execute appropriate retention agreements, pay appropriate retainers, and to cause to
be filed an appropriate application for authority to retain such law firms as co-counsel; and it is
further

       RESOLVED, that Alvarez & Marsal North America, LLC, be and hereby is, authorized
and empowered to represent and assist each Company as its financial advisor and to provide a
chief restructuring officer (a “CRO”) to act on such Company’s behalf and to oversee the
successful prosecution of each Chapter 11 Case, and to take any and all actions to advance the
Company’s rights and obligations; and in connection therewith, each of the Authorized Persons,
with powers of delegation, is hereby authorized to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
services of Alvarez & Marsal North America, LLC in each Chapter 11 Case; and it is further

        RESOLVED, that Moelis & Company LLC, be and hereby is, authorized and empowered
to represent and assist each Company as its investment banker, and to take any and all actions to


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advance the Company’s rights and obligations; and in connection therewith, each of the
Authorized Persons, with powers of delegation, is hereby authorized to execute appropriate
retention agreements, pay appropriate retainers, and to cause to be filed an appropriate application
for authority to retain the services of Moelis & Company LLC in each Chapter 11 Case; and it is
further

        RESOLVED, that each Authorized Person be, and hereby is, authorized to employ any
other legal, restructuring, financial, accounting, bankruptcy services firms, and other professionals
(together with the foregoing firms, the “Professionals”) to assist the Company in carrying out each
Company’s duties under the Bankruptcy Code, and to take any and all actions to advance such
Company’s rights and obligations; and in connection therewith, each of the Authorized Persons,
with power of delegation, is hereby authorized to execute appropriate retention agreements, pay
appropriate retainers, and to cause to be filed appropriate applications for authority to retain the
services of any other professionals, as necessary; and it is further

        RESOLVED, that each Authorized Person be, and hereby is, with power of delegation,
authorized and empowered to execute and file all petitions, schedules, motions, lists, applications,
pleadings, and other papers, and, in connection therewith, to employ and retain all assistance by
legal counsel and other professionals and to take and perform any and all further acts and deeds
that each of the Authorized Persons deems necessary, proper or desirable in connection with each
Chapter 11 Case, with a view to the successful prosecution of such case; and it is further

        RESOLVED, that each of the aforementioned retained advisors of each Company is
hereby authorized to take any and all actions necessary or desirable to advance such Company’s
rights and obligations and facilitate the commencement of each Chapter 11 Case; and it is further

         RESOLVED, that each Company is authorized, and each Authorized Person shall be, and
hereby is, authorized and empowered, on behalf of and in the name of such Company, to the extent
applicable, to (a) enter into negotiations with any interested parties regarding a purchase of any or
all of the assets of such Company whether pursuant to a plan of reorganization or otherwise (each
a “Sale”); (b) file one or more motions with the Bankruptcy Court seeking approval of any Sale
and/or bidding or other sale procedures to be used to facilitate any Sale; (c) organize and manage
a Sale process, which may take the form of an auction or any other process as such Authorized
Person deems necessary or appropriate and which may include the identification of a stalking horse
bidder and the negotiation and entry into an agreement with such stalking horse bidder; (d) execute
and deliver an agreement providing for a Sale according to the terms negotiated by such Company
and such Authorized Person and such additional agreements, consents, certificates, amendments,
and instruments as may be necessary or appropriate to obtain approval of and/or to effectuate a
Sale (collectively, the “Sale Documents”); and (e) if necessary or appropriate, seek approval from
the Bankruptcy Court for authority under the Bankruptcy Code and any other relevant or applicable
federal, state, local, or non-U.S. law to consummate a Sale; and it is further

        RESOLVED, that the foregoing resolutions shall be deemed to also authorize each
Company to act in its capacity as stockholder, member, manager and/or general or limited partner,
as applicable, of any of its subsidiaries to authorize any actions by such subsidiaries in connection
with the consummation of the transactions contemplated by the Credit Documents or Sale
Documents or in each Chapter 11 Case and to execute any stockholder, shareholder, member,


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partner, or similar consent required or requested by any subsidiary of the Company to authorize it
to take any of the actions contemplated by such Company’s plan of reorganization filed or to be
filed under the Bankruptcy Code; and it is further

        RESOLVED, that each Authorized Person be, and hereby is, acting alone or in any
combination, authorized and empowered, with full power of delegation, in the name and on behalf
of each Company, to take or cause to be taken any and all such further action and to execute and
deliver or cause to be executed or delivered, and to amend, supplement or otherwise modify from
time to time, all such further agreements, documents, certificates, statements, notices, undertakings
and other writings, and to incur and to pay or direct payment of all such fees and expenses, in such
form as such Authorized Person performing or executing the same shall approve, and as in the
judgment of such Authorized Person shall be necessary, appropriate or advisable to effectuate the
purpose and intent of any and all of the foregoing resolutions; and it is further

        RESOLVED, that all acts lawfully done or actions lawfully taken by any manager, or any
other person authorized to act in such a capacity, of each Company or any of the Professionals in
connection with each Chapter 11 Case or any proceedings related thereto, or any matter related
thereto, be, and hereby are, adopted, ratified, confirmed and approved in all respects as the acts
and deeds of such Company; and it is further

        RESOLVED, that any and all actions, whether previously or subsequently taken by any
Authorized Person or any other person authorized to act by an Authorized Person, that are
consistent with the intent and purpose of the foregoing resolutions or in connection with any
matters referred to herein, shall be, and the same hereby are, in all respects, ratified, approved and
confirmed; and it is further

        RESOLVED, that for the purposes of these resolutions, the term “Authorized Person”
shall mean and include Brad Cox, Craig Sanders, Vincent DeVito, and Patrick Bartels; and it is
further

      RESOLVED, that facsimile or photostatic copies of signatures to this consent shall be
deemed to be originals and may be relied on to the same extent as the originals.




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        IN WITNESS WHEREOF, this Omnibus Written Consent is effective as of the date
first written above. This Omnibus Written Consent may be executed in any number of
counterparts, each of which shall constitute an original and all of which shall constitute one
action. Any copy, facsimile, or other reliable reproduction of this Omnibus Written Consent
may be substituted or used in lieu of the original writing for any and all purposes for which the
original writing could be used.


                                                       COX INVESTMENT PARTNERS,
                                                       LP, acting in its capacity as the sole
                                                       Member of PHOENIX PETRO
                                                       SERVICES LLC, acting in its capacity
                                                       as the sole Member of COX
                                                       OPERATING, L.L.C.


                                                       COX INVESTMENT PARTNERS, LP


                                                       By:      Cox Management Dallas LLC,
                                                                Its General Partner


                                                                ___________________________
                                                                Craig L. Sanders, Manager




                              [Signature Page to Omnibus Written Consent]
Debtor MLCJR LLC, et al. , _____
                                                   Case 23-90330 Document 1 Filed in TXSB on 05/14/23 Page   13 of 17
                                                                                                         Case number (if known)_____________________________________




      Fill in this information to identify the case:
      Debtor name: MLCJR LLC, et al. ,
      United States Bankruptcy Court for the: Southern District of Texas
      Case number (If known): ______________                                                                                                                                                      Check if this is an amended
                                                                                                                                                                                                  filing

       Official Form 204
       Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
                                                                                                                                              12/15


      A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11
      U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.

            Name of creditor and complete mailing address,                    Name, telephone number, and email               Nature of the claim (for example,            Indicate if claim is                      Amount of unsecured claim
                          including zip code                                     address of creditor contact                      trade debts, bank loans,                    contingent,            if the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                 professional services, and                 unliquidated, or       amount. If claim is partially secured, fill in total claim amount
                                                                                                                                   government contracts)                        disputed              and deduction for value of collateral or setoff to calculate
                                                                                                                                                                                                                            unsecured claim.

                                                                                                                                                                                                   Total claim, if     Deduction for value
                                                                                                                                                                                                                                                 Unsecured claim
                                                                                                                                                                                                  partially secured    of collateral or setoff
     GOL, LLC
                                                                           CASEY BOUSEGARD
     ATTN: CASEY BOUSEGARD
                                                                           VICE PRESIDENT
     4535 HIGHWAY 308
   1                                                                       EMAIL - casey@gulf-log.com                                      Trade Payable                                                                                         $        24,804,863
     P.O. BOX 309
                                                                           PHONE - 985-532-1060
     RACELAND, LA 70394


                                                                           PAUL DANOS
     DANOS, LLC
                                                                           OWNER, PRESIDENT, AND CHIEF EXECUTIVE
     ATTN: PAUL DANOS
                                                                           OFFICER
   2 3878 WEST MAIN STREET                                                                                                                 Trade Payable                                                                                         $         8,566,355
                                                                           EMAIL - pauldanos@danos.com
     GRAY, LA 70359
                                                                           PHONE - 985-346-4338


     A-PORT, LLC                                                           LILLY HAMM
     ATTN: LILLY HAMM                                                      CONTROLLER AND CHIEF FINANCIAL OFFICER
   3 100 COMMISSION BLVD.                                                  EMAIL - lillyh@a-portllc.com                                    Trade Payable                                                                                         $         6,957,077
     LAFAYETTE, LA 70508                                                   PHONE - 337-504-3054
                                                                           FAX - 337-504-4193


     CYPRESS POINT MARINE                                                  JOHN SUMICH
     ATTN: JOHN SUMICH                                                     PRESIDENT
   4 500 HWY 90, STE. 120                                                  EMAIL - jsumich@aol.com                                         Trade Payable                                                                                         $         6,461,753
     PATTERSON, LA 70392                                                   PHONE - 504-234-5111
                                                                           FAX - 985-399-6842

     TURNKEY OFFSHORE PROJECT SERVICES, LLC                                JAY HENDERSON
     ATTN: JAY HENDERSON                                                   VICE PRESIDENT
   5 8506 SHRIMPERS ROW                                                    EMAIL - jay@hopeservicesinc.com                                 Trade Payable                                                                                         $         5,741,655
     DULAC, LA 70353                                                       PHONE - 985-563-7801



     QUALITY PRODUCTION MANAGEMENT, LLC                                    CLAY NUNNALLY
     ATTN: CLAY NUNNALLY                                                   CHIEF EXECUTIVE OFFICER
   6 425 GRIFFIN RD.                                                       EMAIL - cnunnally@qualitycompanies.com                          Trade Payable                                                                                         $         4,967,211
     YOUNGSVILLE, LA 70592                                                 PHONE - 985-860-9927



                                                                           CHRIS BRANTLEY
     CROSBY ENERGY SERVICES
                                                                           EXECUTIVE VICE PRESIDENT AND CHIEF
     ATTN: CHRIS BRANTLEY
                                                                           FINANCIAL OFFICER
   7 14090 WEST MAIN STREET                                                                                                                Trade Payable                                                                                         $         4,699,833
                                                                           EMAIL - cbrantley@crosbyenergyservices.com
     CUT OFF, LA 70345
                                                                           PHONE - 985-693-6872
                                                                           FAX - 985-693-8100

     BURNER FIRE CONTROL INC.                                              MATT CRUSE
     ATTN: MATT CRUSE                                                      PRESIDENT AND CHIEF EXECUTIVE OFFICER
   8 1374 PETROLEUM PKWY                                                   EMAIL - mdcruse@burnerfire.com                                  Trade Payable                                                                                         $         4,674,980
     BROUSSARD, LA 70518                                                   PHONE - 337-302-4187 / 800-864-4073


     CHET MORRISON CONTRACTORS, LLC                                        CHET MORRISON
     ATTN: CHET MORRISON                                                   FOUNDER AND CHIEF EXECUTIVE OFFICER
   9 9 BAYOU DULARGE ROAD                                                  EMAIL - cmorrison@chetm.com                                     Trade Payable                                                                                         $         4,549,665
     HOUMA, LA 70363                                                       PHONE - (985) 868-1950


      SEATRAX, INC.                                                        BLUE LEGE
      ATTN: BLUE LEGE                                                      VICE PRESIDENT
   10 218 GUNTHER LANE                                                     EMAIL - blege@seatrax.com                                       Trade Payable                                                                                         $         4,167,388
      BELLE CHASSE, LA 70037                                               PHONE - 713-896-6500 / 713-896-6500


      WHITCO SUPPLY, LLC                                                   MINDY DAWES
      ATTN: MINDY DAWES                                                    OWNER AND CHIEF EXECUTIVE OFFICER
   11 200 N. MORGAN AVENUE                                                 EMAIL - mindy@whitcosupply.com                                  Trade Payable                                                                                         $         3,720,047
      BROUSSARD, LA 70518                                                  PHONE - 337-322-0491 / 337-837-2440


      SPARROWS OFFSHORE LLC                                                STEWART MITCHELL
      ATTN: STEWART MITCHELL                                               CHIEF EXECUTIVE OFFICER
   12 6707 NORTHWINDS DR                                                   EMAIL - stewart.mitchell@sparrowsgroup.com                      Trade Payable                                                                                         $         3,539,565
      HOUSTON, TX 77041                                                    PHONE - 713-896-0002

      AXIP ENERGY SERVICES, LP                                             DOUG EDWARDS
      ATTN: DOUG EDWARDS                                                   SENIOR VICE PRESIDENT AND GENERAL
      1301 MCKINNEY, SUITE 900                                             COUNSEL
   13                                                                                                                                      Trade Payable                                                                                         $         3,435,464
      FULBRIGHT TOWER                                                      EMAIL - doug.edwards@axip.com
      HOUSTON, TX 77010                                                    PHONE - 713-744-6100 / 832-294-6500




Official Form 204                                                                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                              page 1
Debtor MLCJR LLC, et al. , _____
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                                                                                            Case number (if known)_____________________________________




            Name of creditor and complete mailing address,       Name, telephone number, and email              Nature of the claim (for example,           Indicate if claim is                           Amount of unsecured claim
                          including zip code                        address of creditor contact                     trade debts, bank loans,                   contingent,                 if the claim is fully unsecured, fill in only unsecured claim
                                                                                                                   professional services, and                unliquidated, or            amount. If claim is partially secured, fill in total claim amount
                                                                                                                     government contracts)                       disputed                   and deduction for value of collateral or setoff to calculate
                                                                                                                                                                                                                  unsecured claim.

                                                                                                                                                                                          Total claim, if    Deduction for value
                                                                                                                                                                                                                                       Unsecured claim
                                                                                                                                                                                         partially secured   of collateral or setoff
      FAB-CON, INC.                                          BOBBY GILES
      ATTN: BOBBY GILES                                      PRESIDENT AND CHIEF EXECUTIVE OFFICER
   14 1710 YOUNGS ROAD                                       EMAIL - gilesb@fab-con.net                                      Trade Payable                                                                                             $         3,343,812
      MORGAN CITY, LA 70380                                  PHONE - 504-905-6417


      C-DIVE, LLC                                            ROBERT CHAMPAGNE
      ATTN: ROBERT CHAMPAGNE                                 OWNER
   15 1011 SADDI STREET                                      EMAIL - robert.champagne@c-dive.com                             Trade Payable                                                                                             $         3,341,624
      HOUMA, LA 70363                                        PHONE - 985-855-1617 / 985-868-5070


      RYAN, LLC
                                                             BRINT RYAN
      ATTN: BRINT RYAN
                                                             CHAIRMAN OF THE BOARD AND CHIEF
      THREE GALLERIA TOWER
                                                             EXECUTIVE OFFICER
   16 13155 NOEL ROAD                                                                                                        Trade Payable                                                                                             $         2,876,390
                                                             EMAIL - brint.ryan@ryan.com
      SUITE 100
                                                             PHONE - 972-934-0022
      DALLAS, TX 75240-5090
                                                             FAX - 972-960-0613

      KEYSTONE CHEMICAL, LLC                                 JEFF DELAHOUSSAYE
      ATTN: JEFF DELAHOUSSAYE                                PRESIDENT
   17 1019 ALBERTSON PKWY                                    EMAIL - info@keystonechemical.net                               Trade Payable                                                                                             $         2,779,380
      BROUSSARD, LA 70518                                    PHONE - 337-837-8127
                                                             FAX - 337-837-8760

      GOM SHELF LLC
                                                             JON GRAHAM
      ATTN: JON GRAHAM
                                                             SALES MANAGER
      2000 W. SAM HOUSTON PKWY S
   18                                                        EMAIL - jon.graham@gomshelf.com                                 Trade Payable                                                                                             $         2,712,423
      SUITE 1200
                                                             PHONE - 713-969-1354
      HOUSTON, TX 77042


      PRIME ENERGY RESOURCES, LLC
                                                             RYAN FREDERICK
      ATTN: RYAN FREDERICK
                                                             VICE PRESIDENT
      139 JAMES COMEAUX RD.
   19                                                        EMAIL - ryanfrederick@prime-energyresources.com                 Trade Payable                                                                                             $         2,651,629
      SUITE B / PMB 609
                                                             PHONE - 337-680-8042
      LAFAYETTE, LA 70508


      PELSTAR MECHANICAL SERVICES, LLC                       BLUE LEGE
      ATTN: BLUE LEGE                                        VICE PRESIDENT
   20 1530 ST ETIENNE ROAD                                   EMAIL - blege@seatrax.com                                       Trade Payable                                                                                             $         2,454,266
      BROUSSARD, LA 70518                                    PHONE - 713-248-4073


      DLS, L.L.C.                                            JUAN KNIGHT
      ATTN: JUAN KNIGHT                                      CHIEF EXECUTIVE OFFICER
   21 701 ROBLEY DRIVE, SUITE 104                            EMAIL - knight@dls-energy.com                                   Trade Payable                                                                                             $         2,311,098
      LAFAYETTE, LA 70503                                    PHONE - (256) 845-5510
                                                             FAX - (337) 924-7445
      E S & H PRODUCTION GROUP, LLC
                                                             PRESIDENT OR GENERAL COUNSEL
      ATTN: PRESIDENT OR GENERAL COUNSEL
                                                             EMAIL - info@esandh.com
   22 2516 ENGINEERS ROAD                                                                                                    Trade Payable                                                                                             $         2,125,017
                                                             PHONE - 504-392-3801
      BELLE CHASSE, LA 70037


      VISION PRODUCTION CHEMICALS LLC                        JASON BROUSSARD
      ATTN: JASON BROUSSARD                                  VICE PRESIDENT
   23 8910 CORDELL ROAD                                      EMAIL - jasonb@visionprochem.com                                Trade Payable                                                                                             $         1,955,859
      ABBEVILLE, LA 70510                                    PHONE - 337-517-5290 / 337-314-9288



      GULFSTREAM SERVICES, INC.                              BOBBY BOND
      ATTN: BOBBY BOND                                       CHIEF EXECUTIVE OFFICER
   24 230 & 231 DEVELOPMENT ST.                              EMAIL - bobby.bond@gulfstreamservices.com                       Trade Payable                                                                                             $         1,903,414
      HOUMA, LA 70363                                        PHONE - 985-688-4416 / 985-257-7891
                                                             FAX - 985-876-1766

      LINEAR CONTROLS INC.                                   ANDRE CLEMONS
      ATTN: ANDRE CLEMONS                                    PRESIDENT AND CHIEF EXECUTIVE OFFICER
   25 107 1/2 COMMISSION BLVD.                               EMAIL - andre.clemons@linearcontrols.net                        Trade Payable                                                                                             $         1,833,538
      LAFAYETTE,, LA 70508


      CACTUS WELLHEAD, LLC
                                                             BRIAN SMALL
      ATTN: BRIAN SMALL
                                                             CHIEF FINANCIAL OFFICER
      920 MEMORIAL CITY WAY
   26                                                        EMAIL - brian.small@cactuswellhead.com                          Trade Payable                                                                                             $         1,810,510
      SUITE 300
                                                             PHONE - 713-498-3193 / 713-626-8800
      HOUSTON, TX 77024


      QUALITY PROCESS SERVICES, LLC                          WENDY AGUILLARD
      ATTN: WENDY AGUILLARD                                  CHIEF FINANCIAL OFFICER
   27 587 S. HOLLYWOOD RD.                                   EMAIL - wa@qps-la.com                                           Trade Payable                                                                                             $         1,713,118
      HOUMA, LA 70360                                        PHONE - 985-868-1200


      AMERICAN PANTHER, LLC                                  NADINE MOUSTAFA
      ATTN: NADINE MOUSTAFA                                  SENIOR VICE PRESIDENT, GENERAL COUNSEL,
      1501 MCKINNEY ST.                                      AND CORPORATE SECRETARY                                                                     Contingent, Unliquidated, and
   28                                                                                                                   Trade Payable / Litigation                                                                                         UNDETERMINED
      SUITE 800                                              EMAIL - nmoustafa@third-coast.com                                                                    Disputed
      HOUSTON, TX 77010                                      PHONE - 202-368-0984

                                                             MIKE WIRTH
      CHEVRON / UNION BANK
                                                             CHAIRMAN OF THE BOARD AND CHIEF
      ATTN: MIKE WIRTH
                                                             EXECUTIVE OFFICER                                                                           Contingent, Unliquidated, and
   29 6002 BOLLINGER CANYON ROAD                                                                                               Litigation                                                                                                  UNDETERMINED
                                                             EMAIL - mkwirth@chevron.com                                                                          Disputed
      SAN RAMON, CA 94583
                                                             PHONE - 925-842-3232 / 925-842-1000

      THIRD COAST MIDSTREAM HOLDINGS, LLC                    NADINE MOUSTAFA
      ATTN: NADINE MOUSTAFA                                  SENIOR VICE PRESIDENT, GENERAL COUNSEL,
      1501 MCKINNEY STREET                                   AND CORPORATE SECRETARY                                                                     Contingent, Unliquidated, and
   30                                                                                                                   Trade Payable / Litigation                                                                                         UNDETERMINED
      SUITE 800                                              EMAIL - nmoustafa@third-coast.com                                                                    Disputed
      HOUSTON, TX 77002                                      PHONE - 202-368-0984



Official Form 204                                                           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                  page 2
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS

                                                         )
    In re:                                               )     Chapter 11
                                                         )
                                                         )     Case No. 23-___________(___)
    Energy XXI GOM, LLC                                  )
                                                         )
                             Debtor.                     )
                                                         )

                              LIST OF EQUITY SECURITY HOLDERS 1


         Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the above-
captioned debtor and debtor in possession (the “Debtor”) respectfully represents that the following
is the list of holders of the Debtor’s sole class of equity or membership interests:

             ☐ There are no equity security holders or corporations that directly or indirectly own 10%
             or more of any class of the Debtor’s equity interest.

             ☒ The following are the Debtor’s equity security holders (list holders of each class,
             showing the number and kind of interests registered in the name of each holder, and the
             last known address or place of business of each holder):
     Name and Last Known Address of Place of          Kind/Class of Interest       Percentage of Interests Held
               Business of Holder
    Energy XXI Gulf Coast, LLC                                                                 100%




1This list serves as the required disclosure by the Debtor pursuant to Rule 1007 of the Federal Rules of Bankruptcy
Procedure. All equity positions listed are as of the date of commencement of the Chapter 11 Case.
          Case 23-90330 Document 1 Filed in TXSB on 05/14/23 Page 16 of 17




                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS

                                                )
 In re:                                         )   Chapter 11
                                                )
                                                )   Case No. 23-___________(___)
 Energy XXI GOM, LLC                            )
                                                )
                       Debtor.                  )
                                                )

                         CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest:

                                                      Approximate Percentage of Equity
              Equity Interest Holder
                                                              Interests Held

 Energy XXI Gulf Coast, LLC                                            100%
                Case 23-90330 Document 1 Filed in TXSB on 05/14/23 Page 17 of 17



    Fill in this information to identify the case and this filing:

   Debtor Name     Energy XXI GOM, LLC

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule ____
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders and Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/   Craig Sanders
                                        05/14/2023
                                        MM/ DD/YYYY                              Signature of individual signing on behalf of debtor
                                                                                 Craig Sanders
                                                                                 Printed name
                                                                                 Authorized Person

                                                                                 Position or relationship to debtor




Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
